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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

    LONE STAR TECHNOLOGICAL                    §
    INNOVATIONS, LLC,                          §
                                               §    Civil Action No. 6:19-cv-059-RWS
           Plaintiff,                          §
                                               §    LEAD CASE
                   v.                          §
                                               §    JURY TRIAL DEMANDED
    ASUSTEK COMPUTER INC.,                     §
                                               §
           Defendants.                         §
                                               §

                 JOINT CLAIM CONSTRUCTION CHART STATEMENT

          Pursuant to P.R. 4-5(d) and the Court’s Amended Docket Control Order (Dkt. 70),

   Plaintiff Lone Star Technological Innovations, LLC (“Lone Star” or “Plaintiff”) and

   Defendants Asustek Computer Inc. and Barco N.V. (together, “Defendants”), the Parties in

   the above captioned case, submit this Joint Claim Construction Chart Statement. Attached

   are the charts for (1) the terms to which the parties agreed, attached as Exhibit A; and (2) the

   remaining terms in dispute, attached as Exhibit B.


   Dated: May 20, 2020                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I hereby certify that on May 20, 2020, I electronically served the foregoing

   disclosure via electronic mail to all counsel of record.

                                                        /s/ John D. Saba
                                                       John D. Saba, Jr.




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